                                                    Case 23-50437-JTD                                  Doc 36-14                    Filed 11/08/23                        Page 1 of 15
FTX Trading Ltd.
ASC 805 Purchase Price Allocation of Digital Assets DA AG                                                                                                                                                                                 Schedule 6
Weighted Average Cost of Capital
As of November 14, 2021




                                                                        Observed                  Debt (Book) as a             5 Yr. Historic Capital                                                 Unlevered
(1) Guideline Public Company                                             Beta (1)                      % of Equity                         Structure           Effective Tax Rate                          Beta            Re-Levered Beta (2)
    ADVFN Plc                                                               1.00                              2.0%                              2.0%                        12.0%                          0.98                          1.10
    Robinhood Markets, Inc.                                                  NM                              14.3%                             12.5%                        46.1%                           NM                            NM
    Coinbase Global, Inc.                                                   3.34                              3.1%                              3.0%                        21.2%                          3.26                          3.67
    Voyager Digital Ltd.                                                    2.72                              0.9%                              0.8%                        12.0%                          2.70                          3.04
    The Charles Schwab Corporation                                          1.04                             15.6%                             13.5%                        23.3%                          0.93                          1.04
    E*TRADE Financial, LLC                                                  0.33                             25.5%                             20.3%                        31.9%                          0.28                          0.32
    Interactive Brokers Group, Inc.                                         0.79                            136.0%                             57.6%                         6.0%                          0.35                          0.39
    Nasdaq, Inc.                                                            0.88                             23.8%                             19.2%                        34.7%                          0.77                          0.86
    Euronext N.V.                                                           0.33                             14.2%                             12.4%                        29.5%                          0.30                          0.34
    Intercontinental Exchange, Inc.                                         0.87                             18.1%                             15.3%                        21.5%                          0.76                          0.86
    Hong Kong Exchanges and Clearing Limited                                0.33                              0.8%                              0.8%                        14.2%                          0.33                          0.37

   Maximum                                                                   3.34                            136.0%                              57.6%                           46.1%                      3.26                            3.67
   Third Quartile                                                            1.03                             20.9%                              17.3%                           30.7%                      0.97                            1.09
   Average                                                                   1.16                             23.1%                              14.3%                           23.0%                      1.07                            1.20
   Median                                                                    0.88                             14.3%                              12.5%                           21.5%                      0.76                            0.86
   First Quartile                                                            0.44                              2.6%                               2.5%                           13.1%                      0.33                            0.37
   Minimum                                                                   0.33                              0.8%                               0.8%                            6.0%                      0.28                            0.32

    Selected                                                                                                                                     12.5%                           12.0%                                                      1.20

   Cost of Equity (Ke) - MCAPM Method
   Risk-Free Rate (Rf)                                                        2.0% The risk-free rate is based on the yield of 20-year constant maturity U.S. Treasury bonds per the Nov 14, 2021 FRB: H.15 Statistical Release.
       Re-levered Beta (Be)                                                   1.20 Be = Ba x [ 1 + (Wd / We) x ( 1 - T )]
       Equity Risk Premium (Rm - Rf)                                          6.0% See Footnote 3.
   Adjusted Equity Risk Premium                                               7.2% Be (Rm - Rf)
   Size Premium (SP)                                                          5.0% The size premium is based on 0.0501 D&P Cost of Capital Navigator issued by Duff & Phelps Corporation: 10 decile.
   Company Specific Risk Premium (CSRP)                                      28.0% Based on the risk of achieving the projections. We note the projections are significant and represent a significant improvement in the performance
                                                                                   of the the target company. Furthermore, we note the target is operating in a segment where the underlying asset class is relatively new and
                                                                                   extremely volatile.
   Cost of Equity                                                            42.2% Ke = Rf + Be (Rm - Rf) + SP + CSRP

   After-Tax Cost of Debt (Kd)
   Pre-Tax Cost of Debt                                                       3.3% See Footnote 4.
   Tax Rate                                                                  12.0% Based on an estimated Federal and statutory blended tax rate of 12.0%.
   After-Tax Cost of Debt                                                     2.9% Kd = Kd (1 - T)

   Weighted Average Cost of Capital
   Equity % of Capital (We)                                                  87.5% The capital structure is based on levels typical in the Company's industry, as represented by the guideline public companies.
   Cost of Equity (Ke)                                                       42.2%
   Weighted Cost of Equity                                                   36.9% We x Ke

   Debt % of Capital (Wd)                                                    12.5% The capital structure is based on levels typical in the Company's industry, as represented by the guideline public companies.
   Cost of Debt (Kd)                                                          2.9%
   Weighted Cost of Debt                                                      0.4% Wd x Kd

   WACC (Rounded)                                                           37.5%

Footnotes
   This schedule has been prepared on the basis of the information and assumptions set forth in our report and the attached schedules. It must be read in conjunction with the accompanying report and all the other exhibits included herein. Some
   totals may not add due to rounding.
(1) Source: S&P Capital IQ.
(2) The re-levered betas represent 5-year monthly betas, unless otherwise noted.
(3) The equity risk premium was selected based on BDO's review of recently published articles, academic studies, and surveys that attempt to quantify the expected equity risk premium for U.S. common stocks, which reflects the "Supply Side" equity
    risk premium, per the D&P Cost of Capital Navigator issued by Duff & Phelps Corporation.
(4) The pre-tax cost of debt is based on the yield, as of the Valuation Date, of BAA rated corporate bonds, as rated by Moody's credit rating agency, as published by Moody's.




                                                                                                                                                                                                                                                         A.0209
                                                                     Case 23-50437-JTD                                Doc 36-14               Filed 11/08/23                     Page 2 of 15
FTX Trading Ltd.
ASC 805 Purchase Price Allocation of Digital Assets DA AG                                                                                                                                                                                                           Schedule 7
Net Working Capital                                                                                                                                                                                                                                        ($US in Thousands)
As of November 14, 2021



                                                                     As of                                                                           Projected Financials
                                                               November 14                                                                            FYE December 31
                                                                     2021                   2021              2022              2023              2024           2025                  2026              2027               2028              2029                 Residual

   Total Revenue                                               $       11,892    $       11,892    $       56,411     $       62,052    $       80,667     $     121,001     $     205,701     $      257,127     $     282,839     $     296,981           $      305,891

   Accounts Receivable                                                  9,112
   Other Current Assets                                                 4,415
   Cash-Free Current Assets                                            13,528                -                 -                  -                 -                 -                  -                 -                 -                  -

   Accounts Payable                                                       621
   Other Current Liabilities                                              541
   Debt-Free Current Liabilities                                        1,161                -                 -                  -                 -                 -                  -                 -                 -                  -

   Net Working Capital                                                 12,366               641              3,043             3,347             4,351              6,527            11,096            13,870            15,257             16,019                  16,500
   Net Working Capital % of Revenue                                     104.0%              5.4%               5.4%              5.4%              5.4%               5.4%              5.4%              5.4%              5.4%               5.4%                    5.4%

   Changes in Net Working Capital                                                            -               2,401               304             1,004              2,176             4,569             2,774              1,387               763                      481




(2) Guideline Public Company                                             TTM
    ADVFN Plc                                                          -12.6%
    Robinhood Markets, Inc.                                           -113.6%
    Coinbase Global, Inc.                                                5.3%
    Voyager Digital Ltd.                                                 3.5%
    The Charles Schwab Corporation                                        NM
    E*TRADE Financial, LLC                                            -136.0%
    Interactive Brokers Group, Inc.                                       NM
    Nasdaq, Inc.                                                         0.5%
    Euronext N.V.                                                       -8.7%
    Intercontinental Exchange, Inc.                                     12.3%
    Hong Kong Exchanges and Clearing Limited                              NM

   Digital Assets DA AG                                               104.0%

   Maximum                                                              12.3%
   Third Quartile                                                        4.0%
   Average                                                             -31.2%
   Median                                                               -4.1%
   First Quartile                                                      -37.8%
   Minimum                                                            -136.0%



(3) Selected                                                              5.4%

   Normalized Net Working Capital                                         641
   Actual Net Working Capital                                          12,366
   Net Working Capital Surplus/(Deficit)                      $       11,725

Footnotes
    This schedule has been prepared on the basis of the information and assumptions set forth in our report and the attached schedules. It must be read in conjunction with the accompanying report and all the other exhibits included herein. Some totals may not add due
    to rounding.
(1) Historical and projected financial data provided by Management. Refer to Schedule 3 and Schedule 4.
(2) Source: S&P Capital IQ.
(3) Based on the net working capital that approximates the entities deemed most similar to the Subject Company.
   Definitions: DFCFNWC - Debt Free, Cash Free Net Working Capital, FYE - Fiscal Year End


                                                                                                                                                                                                                                                                      A.0210
                                                   Case 23-50437-JTD                               Doc 36-14                 Filed 11/08/23                      Page 3 of 15
FTX Trading Ltd.
ASC 805 Purchase Price Allocation of Digital Assets DA AG                                                                                                                                                                          Schedule 8
Tax Depreciation Calculation                                                                                                                                                                                              ($US in Thousands)
As of November 14, 2021

(1) Net Fixed Assets                                                   $            417
(1) Non-Depreciable Assets                                                          -
    Existing Fixed Assets                                              $            417



                                                                                                                                           Projected Financials
                                                                                                                                            FYE December 31
                                                                                   2021             2022             2023              2024           2025                    2026              2027              2028              2029

(2) Revenue                                                            $       11,892      $      56,411    $      62,052    $      80,667     $     121,001     $        205,701     $     257,127     $     282,839      $     296,981

    Capital Expenditures
(2) Total Capital Expenditures                                                      119             564               621              807              1,210               2,057             2,571              2,828             2,970
    Percentage Bonus Depreciation                                                 100.0%          100.0%             80.0%            60.0%              40.0%               20.0%              0.0%               0.0%              0.0%
    Capital Expenditures - Eligible for Bonus Depreciation                          119             564               496              484                484                 411               -                  -                 -
    Capital Expenditures - Not Eligble for Bonus Depreciation                       -               -                 124              323                726               1,646             2,571              2,828             2,970




                                                                       Average Life            Weight       Depreciation Method
   Existing Fixed Assets                                                      5                100.0%       MACRS DB-SL

   Capital Expenditures                                                       5                             MACRS DB-SL

   Depreciation Rates
   Existing Fixed Assets                                                           20.0%           32.0%             19.2%            11.5%             11.5%                 5.8%                  -                 -                  -
   Capital Expenditures                                                            20.0%           32.0%             19.2%            11.5%             11.5%                 5.8%                  -                 -                  -

   Depreciation
   Existing Fixed Assets                                                              83            133                80                48                48                   24

   Capital Expenditures
                                                                   1                -                   -             -                 -                 -                    -
                                                                   2                                    -             -                 -                 -                    -                 -
                                                                   3                                                   25                40                24                   14                14                 7
                                                                   4                                                                     65               103                   62                37                37                19
                                                                   5                                                                                      145                  232               139                84                84
                                                                   6                                                                                                           329               527               316               190
                                                                   7                                                                                                                             514               823               494
                                                                   8                                                                                                                                               566               905
                                                                   9                                                                                                                                                                 594

   Total Depreciation                                                  $            202    $        698     $         601    $          636    $          804    $          1,073    $        1,232     $        1,832    $        2,285

   Fixed Asset Level
   Beginning Fixed Assets                                                           417              334              200               219               390                 795              1,779             3,119             4,115
   Depreciation                                                                    (202)            (698)            (601)             (636)             (804)             (1,073)            (1,232)           (1,832)           (2,285)
   Capital Expenditures                                                             119              564              621               807             1,210               2,057              2,571             2,828             2,970
   Ending Fixed Assets                                                              334              200              219               390               795               1,779              3,119             4,115             4,800

   % of Revenue                                                                     1.7%             1.2%             1.0%              0.8%              0.7%                0.5%               0.5%              0.6%              0.8%
   Fixed Asset Turnover                                                            35.7            281.9            282.9             207.0             152.1               115.6               82.4              68.7              61.9

Footnotes
   This schedule has been prepared on the basis of the information and assumptions set forth in our report and the attached schedules. It must be read in conjunction with the accompanying report and all the other exhibits included
   herein. Some totals may not add due to rounding.
(1) Refer to Schedule 4.
(2) Refer to Schedule 3.



                                                                                                                                                                                                                                                A.0211
                                            Case 23-50437-JTD                     Doc 36-14        Filed 11/08/23            Page 4 of 15
FTX Trading Ltd.
ASC 805 Purchase Price Allocation of Digital Assets DA AG                                                                                                                         Schedule 9
Income Approach - Relief from Royalty Method                                                                                                                             ($US in Thousands)
Trade Names and Trademarks
As of November 14, 2021



                                                                                                 Projected Financials
                                                                                                  FYE December 31
                                                                      2021           2022             2023          2024             2025            2026

(1) Revenue                                                  $      11,892    $     56,411   $      62,052   $     80,667 $       121,001 $       205,701
    Percent of Revenue Attributable to TNs & TMs                    100.0%          100.0%          100.0%         100.0%          100.0%          100.0%
    Adjusted Revenue                                               11,892          56,411          62,052         80,667         121,001         205,701
    Revenue Growth                                                                  374.4%           10.0%          30.0%           50.0%           70.0%

(2) Relief from Gross Royalty @ 0.75%                                   89            423             465             605            908           1,543

    Less: Taxes @ 12.0%                                                 11             51              56              73            109             185
    After-Tax Royalty Savings                                           78            372             410             532            799           1,358



    Partial Period Adjustment                                         0.13
    Present Value Period                                              0.06           0.63            1.63            2.63            3.63           4.63
    Present Value Factor @ 37.5%                                     0.980          0.819           0.595           0.433           0.315          0.229
    Present Value of Cash Flow                               $          10    $      305     $       244     $       231     $       251     $      311

    Sum of Present Value of Cash Flows                               1,351
(3) Tax Amortization Benefit                                            34
    Fair Value of Trade Names and Trademarks                 $      1,400



    Assumptions

(2) TNs & TMs Royalty Rate                                           0.75%
    Tax Rate                                                         12.0%
    TNs & TMs Discount Rate                                          37.5%
(4) Estimated Remaining Economic Life                                 6 yrs

Footnotes
    This schedule has been prepared on the basis of the information and assumptions set forth in our report and the attached schedules. It must be read in conjunction with the accompanying
    report and all the other exhibits included herein. Some totals may not add due to rounding.
(1) Based on projections provided by Management.
(2) The selected royalty rate of 75bps was based on discussions with Management regarding the intentions to co-brand the existing name with FTX Europe and an independent review of
    comparable royalty agreements. See Schedule 10 for more details.
(3) Based on Section 197 tax amortization benefits factor.
(4) Estimated remaining economic life based on discussions with Management.
    Definitions: FYE - Fiscal Year End

                                                                                                                                                                                               A.0212
                                                                             Case 23-50437-JTD                                  Doc 36-14                    Filed 11/08/23                        Page 5 of 15
FTX Trading Ltd.
ASC 805 Purchase Price Allocation of Digital Assets DA AG                                                                                                                                                                                                                                        Schedule 10
Comparable Royalty Rates
As of November 14, 2021




                                                                                                                                                                                                                                                    Royalty Rate
(1) Year       Licensee              Licensee Business                        Licensor                    Licensor Business                     Licensed Asset                                                                                         Range                    Source
    2017       EnTrust Capital        EnTrust Global’s business platform      Legg Mason, Inc.            Global Asset Management               Entrust Permal tradename, acquired during the acquisition of EnTrust Capital on May               1.5%       1.5%        Legg Mason, Inc.
                                      encompasses a range of investment                                                                         2, 2016. On May 2, 2016, Legg Mason acquired EnTrust Capital ("EnTrust") and                                             2017 10-K Report
                                     opportunities across a spectrum of asset                                                                   combined it with The Permal Group, Ltd. ("Permal"),
                                     classes, strategies, and liquidity                                                                         Legg Mason's existing hedge fund platform, to form EnTrustPermal. EnTrust, an
                                     profiles, in both the public and private                                                                   alternative asset management firm headquartered in New York, had $9,600,000 in
                                     markets. The firm provides commingled                                                                      assets under management ("AUM") and approximately $2,000,000 in assets under
                                     solutions as well as customized,                                                                           advisement and committed capital at closing, and largely complementary investment
                                     bespoke portfolios                                                                                         strategies, investor base, and business mix to Permal.
    2017       Rare Infrastructure Rare Infrastructure specializes in global Legg Mason, Inc.             Global Asset Management               RARE Infrastructure tradename acquired on October 21, 2015. At this date, Legg                    1.0%         1.0%      Legg Mason, Inc.
                                   listed infrastructure security investing                                                                     Mason acquired a majority equity interest in RARE Infrastructure Limited ("RARE                                          2017 10-K Report
                                   and is headquartered in Sidney,                                                                              Infrastructure"). RARE Infrastructure specializes in global listed infrastructure
                                   Australia                                                                                                    security investing, is headquartered in Sydney, Australia, and had approximately
                                                                                                                                                6,800,000 in AUM at the closing of the transaction. Under the terms of the related
                                                                                                                                                transaction agreements, Legg Mason acquired a 75% ownership interest in the firm,
    2020       LM Capital             Merchant Cash Advance operations.      CCUR Holdings, Inc. Merchant cash advance and real                 The tradenmae of LuxeMark, acquired on February 13, 2019                                          1.5%        1.5%       CCUR Holdings, Inc.
               Solutions, LLC                                                                     estate operations                                                                                                                                                      2020 10-K Report
    2017       NorthStar Asset       Real estate focused asset management Colony Capital, Inc. Global investment management                     The trade name of NorthStar Asset Management, which was acquired on January 10,                   1.5%        1.5%       Colony Capital, Inc.
               Management            firm                                                         firm with approximately $43                   2017                                                                                                                     2017 10-K Report
               Group, Inc.                                                                        billion in asset under
                                                                                                  management
    2016       Tonswend               Investment management                  Colony Capital, Inc. Global investment management                  Through its subsidiary, NorthStar Asset Management Group, Inc., the Townsend                      2.0%        2.0%       Colony Capital, Inc.
               Investment                                                                          firm with approximately $43                  tradename was acquired in January 2016                                                                                   2017 10-K Report
               Management                                                                          billion in asset under
                                                                                                  management
    2017       CEMP                  Tennessee limited liability company and Victory Capital      Investment management firm                    The CEMP tradename acquired on November 26, 2017                                                 1.0%         1.0%       Victory Capital
                                     rules-based index investment manager Holdings, Inc.                                                                                                                                                                                 Holdings, Inc. 2017
                                     offering mutual fund and ETF products                                                                                                                                                                                               10-K Report

    2010       Farm Bureau                                                        Farm Bureau                                                   The Licensor, a non-profit organization, hereby grants to Insurance Companies an                  0.6%        3.0%       RoyaltySource
               Mutual Holding                                                     Federation                                                    exclusive License to use the Marks only in the territory and only in connection with                                     Intellectual Property
               Company and                                 -                                                                -                   the Products, subject to revocation by the Licensor Board of Directors.                                                  Database
               Other Farm Bureau
               Entities
    2015       Nodak Mutual                                                       North Dakota Farm                                             Licensor, non-profit organization, hereby grants to Licensee a nonexclusive,                      1.3%         1.3%      RoyaltySource
               Group Inc.; NI                                                     Bureau                                                        nontransferable license to use, copy and incorporate the name Farm Bureau and logo                                       Intellectual Property
               Holdings, Inc.                                                                                                                   "FB" and any trademarks associated with these marks to market Licensee products,                                         Database
                                                           -                                                                -
                                                                                                                                                including insurance products.
                                                                                                                                                Licensee agrees to use the Farm Bureau name and associated trademarks in a manner
                                                                                                                                                consistent with the marketing of insurance products and shall display the Farm

                                                                                                                                                Maximum                                                                                              2.0%         3.0%
                                                                                                                                                Third Quartile                                                                                       1.5%         1.6%
                                                                                                                                                Average                                                                                              1.3%         1.6%
                                                                                                                                                Median                                                                                               1.4%         1.5%
                                                                                                                                                First Quartile                                                                                       1.0%         1.2%
                                                                                                                                                Minimum                                                                                              0.6%         1.0%




                                                                                                                                            (1) Selected Royalty Rate                                                                            0.75%

Footnotes
    This schedule has been prepared on the basis of the information and assumptions set forth in our report and the attached schedules. It must be read in conjunction with the accompanying report and all the other exhibits included herein. Some totals may not add due to rounding.
(1) The selected royalty rate of 75bps was based on discussions with Management regarding the intentions to co-brand the existing name with FTX Europe and an independent review of comparable royalty agreements.




                                                                                                                                                                                                                                                                                                 A.0213
                                                                                                                     Case 23-50437-JTD                                                Doc 36-14                             Filed 11/08/23                                   Page 6 of 15


FTX Trading Ltd.
ASC 805 Purchase Price Allocation of Digital Assets DA AG                                                                                                                                                                                                                                                                                                                                                   Schedule 11
Income Approach - Multi-Period Excess Earnings Model                                                                                                                                                                                                                                                                                                                                                ($US in Thousands)
Operating Licenses
As of November 14, 2021

                                                                                                                                                                                                                                                    Projected Financials
                                                                                                                                                                                                                                                     FYE December 31
                                                                                                       2021            2022             2023           2024            2025            2026            2027              2028            2029            2030         2031                  2032          2033          2034          2035          2036          2037          2038          2039            2040

    Total Revenue                                                                               $   11,892      $    56,411     $   62,052       $   80,667     $ 121,001      $ 205,701        $ 211,872       $   218,229       $ 224,775       $ 231,519       $ 238,464        $ 245,618        $ 252,987     $ 260,576     $ 268,394     $ 276,445     $ 284,739     $ 293,281     $ 302,079      $ 311,142
        Growth                                                                                                        374.4%          10.0%            30.0%         50.0%          70.0%             3.0%              3.0%            3.0%            3.0%            3.0%             3.0%             3.0%          3.0%          3.0%          3.0%          3.0%          3.0%          3.0%           3.0%

(1) Probability of Compliance                                                          99.0%          99.9%            98.9%          97.9%            96.9%         95.9%           95.0%            94.0%            93.1%           92.2%            91.2%           90.3%           89.4%            88.5%         87.6%         86.8%         85.9%         85.0%         84.2%         83.3%          82.5%
    Revenue Attributable to Operating Licenses                                                      11,876           55,775         60,739           78,171       116,083         195,368          199,217          203,141         207,143          211,224         215,385         219,628          223,955       228,367       232,866       237,453       242,131       246,901       251,765        256,725

    Cost of Goods Sold                                                                                3,413            3,914          4,263            4,642         5,055           5,505            5,613            5,724           5,837            5,952           6,069           6,189            6,311         6,435         6,562         6,691         6,823         6,957         7,094          7,234
    Gross Profit                                                                                     8,463           51,860         56,476           73,529       111,028         189,863          193,603          197,417         201,307          205,272         209,316         213,440          217,644       221,932       226,304       230,762       235,308       239,944       244,671        249,491
    Gross Margin                                                                                       71.3%            93.0%          93.0%            94.1%         95.6%           97.2%            97.2%            97.2%           97.2%            97.2%           97.2%           97.2%            97.2%         97.2%         97.2%         97.2%         97.2%         97.2%         97.2%          97.2%

    Operating Expenses (excluding depreciation)                                                        832             5,588          6,086            7,832        11,631          19,575           19,961           20,354          20,755           21,164          21,581          22,006           22,440        22,882        23,333        23,792        24,261        24,739        25,226         25,723
(2) EBITDA                                                                                           7,631           46,272         50,390           65,696        99,397         170,288          173,642          177,063         180,551          184,108         187,735         191,434          195,205       199,050       202,972       206,970       211,047       215,205       219,445        223,768
    EBITDA Margin                                                                                     64.3%             83.0%          83.0%            84.0%         85.6%           87.2%            87.2%            87.2%           87.2%            87.2%           87.2%           87.2%            87.2%         87.2%         87.2%         87.2%         87.2%         87.2%         87.2%          87.2%

    Less: Tax Depreciation                                                                             202              690            589              617           772            1,019            1,039            1,060           1,081            1,102           1,124           1,146            1,168         1,191         1,215         1,239         1,263         1,288         1,313          1,339
    Pre-tax Income                                                                                   7,429           45,582         49,802           65,080        98,625         169,269          172,603          176,003         179,471          183,006         186,612         190,288          194,036       197,859       201,757       205,731       209,784       213,917       218,131        222,428

(3) Tax Expense                                                                                        891             5,470          5,976            7,810        11,835          20,312           20,712           21,120          21,536           21,961          22,393          22,835           23,284        23,743        24,211        24,688        25,174        25,670        26,176         26,691
    Net Income                                                                                       6,538           40,112         43,825           57,270        86,790         148,956          151,891          154,883         157,934          161,046         164,218         167,453          170,752       174,116       177,546       181,044       184,610       188,247       191,955        195,737

    Plus: Tax Depreciation                                                                             202              690            589              617           772           1,019            1,039            1,060           1,081            1,102           1,124           1,146            1,168         1,191         1,215         1,239         1,263         1,288         1,313          1,339
    Gross Cash Flow                                                                                  6,740           40,802         44,414           57,887        87,562         149,976          152,930          155,943         159,015          162,147         165,342         168,599          171,920       175,307       178,761       182,282       185,873       189,535       193,269        197,076

(4) Contributory Asset Charges
    Normalized Net Working Capital                                                                       45              211            229              295           438              738             752               767             782             798             813             829              846           862           879           897           914           932           951            969
    Return ON Fixed Assets                                                                               45               80            108              137           183              281             269               336             459             468             477             487              496           506           516           526           537           547           558            569
    Return OF Fixed Assets                                                                              107              218            337              490           717              999           1,616             1,202             809             825             841             858              874           892           909           927           945           964           983          1,002
    Trade Names                                                                                          78              368            401              516           766            1,289           1,315             1,341           1,367           1,394           1,422           1,450            1,478         1,507         1,537         1,567         1,598         1,630         1,662          1,694
    Assembled Workforce                                                                               3,397           15,952         17,372           22,358        33,202           55,879          56,979            58,102          59,247          60,414          61,604          62,817           64,055        65,317        66,604        67,916        69,254        70,618        72,009         73,428
    Net Cash Flow Attributable to Operating Licenses                                                 3,068           23,973         25,967           34,090        52,256           90,790          91,999            94,195          96,351          98,249         100,185         102,158          104,171       106,223       108,316       110,449       112,625       114,844       117,106        119,413

    Partial Period Adjustment                                                                          0.13
    Present Value Period                                                                               0.06             0.63           1.63             2.63          3.63             4.63            5.63              6.63            7.63             8.63            9.63              10.63        11.63         12.63         13.63         14.63         15.63         16.63         17.63           18.63
    Present Value Factor @ 37.5%                                                                      0.980            0.819          0.595            0.433         0.315            0.229           0.167             0.121           0.088            0.064           0.047              0.034        0.025         0.018         0.013         0.009         0.007         0.005         0.004           0.003
    Present Value of Cash Flow                                                                         387           19,623         15,459           14,760        16,454           20,791          15,322            11,409           8,488            6,294           4,668              3,462        2,567         1,904         1,412         1,047           777           576           427             317

    Present Value of Cash Flows                                                    146,144
    Tax Amortization Benefit                                                         3,717
    Fair Value of Operating Licenses                                              149,900

    Assumptions
    Probability of Non-Compliance with Regulatory Requirements                          1.0%
    Tax Rate                                                                           12.0%
    Discount Rate                                                                      37.5%

Footnotes
    This schedule has been prepared on the basis of the information and assumptions set forth in our report and the attached schedules. It must be read in conjunction with the accompanying report and all the other exhibits included herein. Some totals may not add due to rounding.
(1) Management provided the annual probability for non compliance with European and Middle Eastern regulatory bodies.
(2) EBITDA margins based off of projections provided by Management.
(3) Based on an income tax rate of 12.0 percent.
(4) Represents economic charge for the use of other existing business assets that contribute to overall cash flow.
    Definitions: TTM - Trailing Twelve Months, EBITDA - Earnings Before Interest, Taxes, Depreciation, and Amortization, FYE - Fiscal Year End




                                                                                                                                                                                                                                                                                                                                                                                         A.0214
                                                    Case 23-50437-JTD                  Doc 36-14            Filed 11/08/23            Page 7 of 15
FTX Trading Ltd.
ASC 805 Purchase Price Allocation of Digital Assets DA AG                                                                                                                                           Schedule 12
Income Approach - Multi-Period Excess Earnings Model                                                                                                                                        ($US in Thousands)
Contributory Asset Charges
As of November 14, 2021




                                                                     Required
                                                                       Rate of        After-Tax        After-Tax                                    Capital
                                                       Indicated Return (After-         Capital           Charge    After-Tax                       Charge
     Asset                                            Fair Value          Tax)           Charge       ( % of Rev) Royalty Rate TTM Revenue         Selected
     Normalized Net Working Capital                         641           7.0%               45              0.4%                                      0.4%
     Fixed Assets                                           417          10.5%               44              0.4%                                      0.4%
     Trade Names                                          1,400          37.5%              525              4.4%         0.7%                         0.7%
     Assembled Workforce                                  9,070          37.5%            3,401            28.6%                                      28.6%
     Total                                          $    11,528                                                                 $   11,892            30.0%




                                                                                                                          Projected Financials
                                                                                                                           FYE December 31
                                                                         2021             2022             2023         2024         2025             2026           2027           2028           2029

     Total Company Revenue                                        $   11,892      $    56,411     $     62,052    $   80,667    $   121,001    $   205,701    $   257,127    $   282,839    $   296,981

     Net Working Capital
     Starting Net Working Capital                                        641              641            3,043         3,347          4,351          6,527          11,096         13,870         15,257
     Changes In New Working Capital                                        -            2,401              304         1,004          2,176          4,569           2,774          1,387            763
     Ending Net Working Capital                                          641            3,043            3,347         4,351          6,527         11,096         13,870         15,257         16,019

     Return ON Net Working Capital                                         45             213              234           305            457            777            971          1,068          1,121
     Return as % of Revenue                                               0.4%            0.4%             0.4%          0.4%           0.4%           0.4%           0.4%           0.4%           0.4%

     Fixed Assets
     Starting Fixed Assets                                               417              429              773         1,049          1,350          1,813          2,818          3,304          4,459
     Capital Expenditures                                                119              564              621           807          1,210          2,057          2,571          2,828          2,970
     Economic Depreciation                                               107              220              344           505            747          1,052          2,085          1,674          1,160
     Net Fixed Assets                                             $      429      $       773     $      1,049    $    1,350    $     1,813    $     2,818    $     3,304    $     4,459    $     6,269

     Return ON Fixed Assets                                                45              81              110           142            190            296            347            468            658
     Return as % of Revenue                                               0.4%            0.1%             0.2%          0.2%           0.2%           0.1%           0.1%           0.2%           0.2%

     Return OF Fixed Assets                                               107             220              344           505            747          1,052          2,085          1,674          1,160
     Return as % of Revenue                                               0.9%            0.4%             0.6%          0.6%           0.6%           0.5%           0.8%           0.6%           0.4%




                                                                                                                                                                                                       A.0215
                                                Case 23-50437-JTD                           Doc 36-14            Filed 11/08/23                Page 8 of 15
FTX Trading Ltd.
ASC 805 Purchase Price Allocation of Digital Assets DA AG                                                                                                                                                 Schedule 13
Economic Depreciation Calculation                                                                                                                                                                  ($US in Thousands)
As of November 14, 2021

(1) Net Fixed Assets                            $           417
(1) Non-Depreciable Assets                                  -
    Existing Fixed Assets                       $           417



                                                                                                                    Projected Financials
                                                                                                                      FYE December 31
                                                           2021              2022                2023            2024            2025                 2026              2027              2028              2029

(2) Revenue                                     $       11,892      $      56,411      $       62,052       $   80,667    $     121,001    $      205,701       $   257,127     $     282,839      $     296,981
(2) Capital Expenditures                                   119                564                 621              807            1,210             2,057             2,571             2,828              2,970

                                                Average Life            Weight         Depreciation Method
   Existing Fixed Asset                                5                100.0%         Straight Line

   Capital Expenditures                                5                               Straight Line

   Depreciation Rates
   Existing Fixed Asset                                    20.0%            20.0%                20.0%           20.0%             20.0%                    -               -                  -                   -
   Capital Expenditures                                    20.0%            20.0%                20.0%           20.0%             20.0%                    -               -                  -                   -

   Depreciation
   Existing Fixed Asset                                        83                 83                   83           83                83

   Capital Expenditures
                                            1                  24                 24               24              24                24
                                            2                                    113              113             113               113                113
                                            3                                                     124             124               124                124               124
                                            4                                                                     161               161                161               161               161
                                            5                                                                                       242                242               242               242               242
                                            6                                                                                                          411               411               411               411
                                            7                                                                                                                            514               514               514
                                            8                                                                                                                                              566               566
                                            9                                                                                                                                                                594

   Total Depreciation                           $           107     $            220   $          344       $     505     $         747    $        1,052       $      1,453    $        1,895     $       2,327

   Fixed Asset Level
   Beginning Fixed Assets                                   417               429                 773            1,049            1,350              1,813             2,818             3,937              4,870
   Depreciation                                            (107)             (220)               (344)            (505)            (747)            (1,052)           (1,453)           (1,895)            (2,327)
   Capital Expenditures                                     119               564                 621              807            1,210              2,057             2,571             2,828              2,970
   Ending Fixed Assets                                      429               773               1,049            1,350            1,813              2,818             3,937             4,870              5,513

   % of Revenue                                             0.9%             0.4%                 0.6%            0.6%              0.6%              0.5%               0.6%              0.7%              0.8%
   Fixed Asset Turnover                                      28               73                   59              60                67                73                 65                58                54

Footnotes
   This schedule has been prepared on the basis of the information and assumptions set forth in our report and the attached schedules. It must be read in conjunction with the accompanying report and all the
   other exhibits included herein. Some totals may not add due to rounding.
(1) Refer to Schedule 4.
(2) Refer to Schedule 3.


                                                                                                                                                                                                                        A.0216
                                                           Case 23-50437-JTD                        Doc 36-14             Filed 11/08/23                Page 9 of 15
FTX Trading Ltd.
ASC 805 Purchase Price Allocation of Digital Assets DA AG                                                                                                                                                                    Schedule 14
Income Approach - Multi-Period Excess Earnings Model                                                                                                                                                                     ($US in Actuals)
Assembled Workforce
As of November 14, 2021




                                                                                                           Average               Average                               Average            Avoided
                                                                         Number of        Average Base    Estimated             Estimated       Average               Estimated          Recruiting/
(1) Position/ Category                                                   Employees           Salary     Recruiting Cost        Training Cost Recruiting Cost         Training Cost      Training Cost
    Member of the BoD FTX Europe AG                                                  1          350,000          100.0%                  0.0%       350,000                    -              350,000
    Head of MENA, M.H.                                                               1          500,000          100.0%                  0.0%       500,000                    -              500,000
    Head of Europe                                                                   1          500,000          100.0%                  0.0%       500,000                    -              500,000
    Head of Legal Europe                                                             1          500,000          100.0%                  0.0%       500,000                    -              500,000
    Legal Counsel                                                                    1          300,000          100.0%                  0.0%       300,000                    -              300,000
    CFO, FTX Europe AG                                                               1          170,000          100.0%                  0.0%       170,000                    -              170,000
    COO, FTX Trading GmbH                                                            1           60,000           35.0%                  0.0%        21,000                    -               21,000
    Head of Administration                                                           1           60,000           25.0%                  0.0%        15,000                    -               15,000
    K-DNA FS Services Ltd., Staff incl. CEO                                         12        1,200,000           25.0%                  5.0%       300,000                 60,000            360,000
    Total                                                                           20




                                                                                             Average         Average              Avoided         Total Avoided
                                                                                             Starting     Months to Full        Productivity        Costs Per        Total Avoided
(1) Position/ Category                                                  Benefit Load        Efficiency     Productivity            Costs             Person              Costs
    Member of the BoD FTX Europe AG                                            200.0%               100%                0                 -              350,000            350,000
    Head of MENA, M.H.                                                         100.0%               100%                0                 -              500,000            500,000
    Head of Europe                                                             100.0%               100%                0                 -              500,000            500,000
    Head of Legal Europe                                                       100.0%               100%                0                 -              500,000            500,000
    Legal Counsel                                                               33.0%               100%                0                 -              300,000            300,000
    CFO, FTX Europe AG                                                          33.0%               100%                0                 -              170,000            170,000
    COO, FTX Trading GmbH                                                      100.0%               100%                0                 -               21,000             21,000
    Head of Administration                                                      33.0%               100%                0                 -               15,000             15,000
    K-DNA FS Services Ltd., Staff incl. CEO                                     33.0%                 50%               6            199,500             559,500         6,714,000

    Total Avoided Costs                                                                                                                                                   9,070,000

    Fair Value of Assembled Workforce (Rounded)                                                                                                                     $    9,070,000

    Fair Value of Assembled Workforce per employee                                                                                                                  $      453,500

Footnotes
    This schedule has been prepared on the basis of the information and assumptions set forth in our report and the attached schedules. It must be read in conjunction with the accompanying report and all the other exhibits included
    herein. Some totals may not add due to rounding.
(1) Based on information provided by Management.




                                                                                                                                                                                                                                 A.0217
                                                                         Case 23-50437-JTD                             Doc 36-14                     Filed 11/08/23                    Page 10 of 15
FTX Trading Ltd.
ASC 805 Purchase Price Allocation of Digital Assets DA AG                                                                                                                                                                                                                                    Schedule 15
Contingent Consideration                                                                                                                                                                                                                                                             ($US in Thousands)
As of November 14, 2021



                                                                                                                                                                        13             14           18             24        30       36                   42             48              54             60
                                                                                                                    Milestone 1 (2)      Milestone 2 (2)                                                             Projected Payments(4)
                                                                                                                     Probability of       Probability of
                                                Seller 1          Seller 2            Seller 3         Total         Achievement          Achievement             Dec-22         Jan-23     May-23           Nov-23       May-24       Nov-24       May-25          Nov-25         May-26          Nov-26
    Cash component                    $          41,667    $       41,667    $         83,333    $   166,667              95%                  95%
    Bonus component                   $          33,333    $           -     $             -     $    33,333              95%                  95%                               30,083
(1) Stock component                   $           8,333    $       41,667    $             -     $    50,000              95%                  95%                               45,125
    Extra bonus component             $           5,000    $        5,000    $             -     $    10,000              95%                  95%                $ 9,025
                                      $          88,333    $       88,333    $         83,333    $   260,000                                                      $ 9,025    $   75,208     $   -        $     -      $      -     $     -      $      -        $     -        $      -        $     -



(3) Discount rate                                                                                                                                                    0.77%         0.78% 0.82%                0.99%   1.09%             1.30%   1.41%                1.61%   1.70%                  1.87%
    Present value factor                                                                                                                                             0.99          0.99   0.99                0.98    0.97              0.96    0.95                 0.94    0.93                   0.91
    Present value of cash flows                                                                                                                                   $ 8,950 $      74,530 $ -    $                -   $   -   $             -   $   -   $                -   $   -   $                  -
    Fair Value of Contingent Consideration                 $       83,479




Footnotes
   This schedule has been prepared on the basis of the information and assumptions set forth in our report and the attached schedules. It must be read in conjunction with the accompanying report and all the other exhibits included herein. Some totals may not add due to rounding.


(1) Based on most recent round of FTX financing at $36.41 per share as provided by Management.
(2) Based on discussions with Management and a review of the Share Purchase Agreement dated November 14, 2021.
(3) Based on financial services composite BBB yield curve as of the Valuation Date.
(4) Timing of payments based on discussions with Management and review of the Share Purchase Agreement dated November 14, 2021.




                                                                                                                                                                                                                                                                                                   A.0218
                                                               Case 23-50437-JTD                           Doc 36-14                Filed 11/08/23                  Page 11 of 15
FTX Trading Ltd.
ASC 805 Purchase Price Allocation of Digital Assets DA AG                                                                                                                                                                                        Appendix 1
Guideline Transactions - Operating Licenses                                                                                                                                                                                              ($US in Thousands)
As of November 14, 2021



                                                                                                                 Transaction Multiples (1)
                                                                                                                                                                    Fair value of
                                                                                                                                                                                        Target's         Target's       Fair value to     Fair value to
                                                                                                                                                                    Comparable
   Closing Date           Target Company                    Acquirer                        Description of the Exchange Registration License (1)                                       Revenues -        EBITDA -         Target's          Target's
                                                                                                                                                                   Licenses - US$
                                                                                                                                                                                       US$ million      US$ million      Revenues            EBITDA
                                                                                                                                                                     million (1)
                                                                                            The exchange and clearing registrations represent licenses
                                                                                            that provide OMX with the ability to operate its equity and
                                                                                            derivative exchanges as well as the clearing function. Nasdaq
    2/27/2008              OMX AB                           NASDAQ OMX Group, Inc.                                                                                 $     1,143.70     $       596.64    $    188.02         1.92 x            6.08 x
                                                                                            views these intangible assets as a perpetual license to
                                                                                            operate the exchanges so long as OMX meets its regulatory
                                                                                            requirements
                                                                                            National securities exchange registrations has been estimated
                                                                                            since the registrations represent rights to operate exchanges
                                                            Intercontinental Exchange
    11/13/2013             New York Stock Exchange                                          in perpetuity based on the long history of the NYSE Euronext                 6,890.00           4,552.00        1,254.00        1.51 x            5.49 x
                                                            Holdings, Inc.
                                                                                            exchanges acquired and the expectation that a market
                                                                                            participant would continue to operate them indefinitely.

                                                                                            The exchange registrations represent licenses that provide ISE
                                                                                            with the ability to operate its option exchanges. Nasdaq
                          International Securities
   6/30/2016                                                Nasdaq, Inc.                    views these intangible assets as a perpetual license to                         467.00            141.80         NA             3.29 x              NA
                          Exchange, LLC
                                                                                            operate the exchanges so long as ISE meets its regulatory
                                                                                            requirements
                                                                                            Target operations stock exchanges and provide services to
    2/28/2017              BATS Global Markets, Inc.        CBOE Holdings, Inc.             financial markets. It ows trading registrations and licenses                    840.80          1,778.70         223.80         0.47 x            3.76 x
                                                                                            that allows it to operate
                                                                                            Target operates securities exchanges. Licenses were valued
                                                                                                                                                                             81.87    $       334.64    $    199.69         0.24 x            0.41 x
    9/24/2020              Bolsas y Mercados Españoles      Six Group AG                    at $87.6 CHF.



   Maximum                                                                                                                                                                                                                  3.29 x            6.08 x
   Third Quartile                                                                                                                                                                                                           1.92 x            5.64 x
   Average                                                                                                                                                                                                                  1.49 x            3.94 x
   Median                                                                                                                                                                                                                   1.51 x            4.63 x
   First Quartile                                                                                                                                                                                                           0.47 x            2.92 x
   Minimum                                                                                                                                                                                                                  0.24 x            0.41 x

(2) Multiple Implied by Operating License Valuation                                                                                                                                                                         0.74 x            1.47 x



Footnotes
    This schedule has been prepared on the basis of the information and assumptions set forth in our report and the attached schedules. It must be read in conjunction with the accompanying report and all the other exhibits included herein. Some
    totals may not add due to rounding.
(1) Based on publicly available information (10Ks and 10Qs) of license acquirers.
(2) Given the young stage of maturity of the target, implied multiples based on normalized revenue and EBITDA levels in 2025.




                                                                                                                                                                                                                                                       A.0219
                                Case 23-50437-JTD            Doc 36-14        Filed 11/08/23           Page 12 of 15

FTX Trading Ltd.
ASC 805 Purchase Price Allocation of Digital Assets DA AG                                                                                Appendix 2
Venture Capital Rates of Return
As of November 14, 2021




                                                                                Scherlis and Sahlman, Stevenson,
       Development Stage                            Plummer (1)                 Sahlman (2)        and Bhide (3)                Bygrave (4)

       Start-Up                                       50% to 70%                 50% to 70%                50% to 100%           60% to 80%
       First or Early Development                     40% to 60%                 40% to 60%                 40% to 60%                  40%
       Second or Expansion                            35% to 50%                 30% to 50%                 30% to 40%                  30%
       Bridge/IPO                                     25% to 35%                 20% to 35%                 20% to 30%                  25%

       Selected Range                                       30.0%    to                 40.0%

       Selected Cost of Capital                             37.5%

Footnotes
(1) Plummer, James L., QED Report on Venture Capital Financial Analysis, Palo Alto: QED Research, Inc., 1987.
(2) Scherlis, Daniel R. and Sahlman, William A., “A Method for Valuing High-Risk, Long Term, Investments: the Venture Capital Method,”
    Harvard Business School Teaching Note 9-288-006, Boston: Harvard Business School Publishing, 1989.
(3) William A. Sahlman, Howard H. Stevenson, Amar V. Bhide, et al., “Financing Entrepreneurial Ventures,” Business Fundamental Series
   (Boston: Harvard Business School Publishing, 1998).
(4) Babson College, William D. Bygrave, June 1997, "Classic Venture Capital in the Next Millennium".




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                                                                Case 23-50437-JTD                            Doc 36-14                 Filed 11/08/23                   Page 13 of 15
FTX Trading Ltd.
ASC 805 Purchase Price Allocation of Digital Assets DA AG                                                                                                                                                                                               Appendix 3
Guideline Public Companies - Descriptions                                                                                                                                                                                                               Page 1 of 3
As of November 14, 2021




   ADVFN Plc (AIM:AFN)
   Primary Industry: Financial Exchanges and Data
   ADVFN Plc, together with subsidiaries, develops and provides financial information primarily through the Internet and research services. The company offers stock, crypto, forex, and commodity market information to the private
   investors in the United Kingdom, the United States, Brazil, Italy, and other international retail markets. It also develops and explores ancillary Internet sites; and operates an Internet dating Website, and financial information Website,
   as well as provides office services, and brokerage and software development services. ADVFN Plc was incorporated in 1989 and is based in Ongar, the United Kingdom.

   Robinhood Markets, Inc. (NasdaqGS:HOOD)
   Primary Industry: Investment Banking and Brokerage
   Robinhood Markets, Inc. operates financial services platform in the United States. Its platform allows users to invest in stocks, exchange-traded funds (ETFs), options, gold, and cryptocurrencies. The company also offers various
   learning and education solutions comprise Snacks, a digest of business news stories; Learn, which is a collection of approximately articles, including guides, feature tutorials, and financial dictionary; Newsfeeds that offer access to free
   premium news from various sites, such as Barron’s, Reuters, and The Wall Street Journal; lists and alerts, which allow users to create custom watchlists and alerts to monitor securities, ETFs, and cryptocurrencies, as well as cash
   management services; and offers First trade recommendations to all new customers who have yet to place a trade. Robinhood Markets, Inc. was incorporated in 2013 and is headquartered in Menlo Park, California.

   Coinbase Global, Inc. (NasdaqGS:COIN)
   Primary Industry: Financial Exchanges and Data
   Coinbase Global, Inc. provides financial infrastructure and technology for the cryptoeconomy in the United States and internationally. The company offers the primary financial account in the cryptoeconomy for retailers; a
   marketplace with a pool of liquidity for transacting in crypto assets for institutions; and technology and services that enable ecosystem partners to build crypto-based applications and securely accept crypto assets as payment.
   Coinbase Global, Inc. was founded in 2012 and is based in Wilmington, Delaware.

   Voyager Digital Ltd. (TSX:VOYG)
   Primary Industry: Application Software
   Voyager Digital Ltd., through its subsidiaries, operates as a crypto asset brokerage firm primarily in the United States and Canada. It operates a digital platform that enables users to buy and sell crypto assets across multiple centralized
   marketplaces in one account. The company was formerly known as Voyager Digital (Canada) Ltd. and changed its name to Voyager Digital Ltd. in July 2020. The company was founded in 2018 and is headquartered in New York, New
   York.

   The Charles Schwab Corporation (NYSE:SCHW)
   Primary Industry: Investment Banking and Brokerage
   The Charles Schwab Corporation, together with its subsidiaries, provides wealth management, securities brokerage, banking, asset management, custody, and financial advisory services. The company operates in two segments,
   Investor Services and Advisor Services. The Investor Services segment provides retail brokerage, investment advisory, banking and trust, retirement plan, and other corporate brokerage services; equity compensation plan sponsors full-
   service recordkeeping for stock plans, stock options, restricted stock, performance shares, and stock appreciation rights; and retail investor and mutual fund clearing services, as well as compliance solutions. The Advisor Services
   segment offers custodial, trading, banking, and support services; and retirement business and corporate brokerage retirement services. This segment provides brokerage accounts with equity and fixed income, margin lending, options,
   and futures and forex trading; cash management capabilities comprising third-party certificates of deposit; third-party and proprietary mutual funds; plus mutual fund trading and clearing services; and exchange-traded funds (ETFs),
   including proprietary and third-party ETFs. It also offers advice solutions, such as managed portfolios of proprietary and third-party mutual funds and ETFs, separately managed accounts, customized personal advice for tailored
   portfolios, and specialized planning and portfolio management. In addition, this segment provides banking products and services, including checking and savings accounts, first lien residential real estate mortgage loans, home equity
   lines of credit, and pledged asset lines; and trust services comprising trust custody services, personal trust reporting services, and administrative trustee services. As of December 31, 2021, the Company had approximately 400 domestic
   branch offices in 48 states and the District of Columbia, as well as locations in Puerto Rico, the United Kingdom, Hong Kong, and Singapore. The Charles Schwab Corporation was incorporated in 1971 and is headquartered in Westlake,
   Texas.

Footnotes
   This schedule has been prepared on the basis of the information and assumptions set forth in our report and the attached schedules. It must be read in conjunction with the accompanying report and all the other exhibits included herein. Some totals may
   not add due to rounding.
   Source: S&P Capital IQ.




                                                                                                                                                                                                                                                           A.0221
                                                                Case 23-50437-JTD                            Doc 36-14                 Filed 11/08/23                   Page 14 of 15
FTX Trading Ltd.
ASC 805 Purchase Price Allocation of Digital Assets DA AG                                                                                                                                                                                               Appendix 3
Guideline Public Companies - Descriptions                                                                                                                                                                                                               Page 2 of 3
As of November 14, 2021




   E*TRADE Financial, LLC (CBOE:ETFC)
   Primary Industry: Investment Banking and Brokerage
   As of January 1, 2021, E*TRADE Financial, LLC was acquired by E*Trade Financial Holdings, LLC. E*TRADE Financial, LLC, a financial services company, provides brokerage, and related products and services for traders, investors,
   registered investment advisors (RIAs), and stock plan administrators and participants. It offers investor-focused banking products, including sweep deposit accounts; automated trade order placement and execution services; clearing
   and settlement services; and insurance on qualifying amounts of customer deposits, and other banking and cash management services. The company also provides custody solutions to RIAs; software and services for managing equity
   compensation plans, student loans, and financial wellness solutions to corporate clients; retail futures transaction services; and investment advisory services. It provides its services through digital platforms; and a network of industry-
   licensed customer service representatives and financial consultants through phone, email, and online at two national financial centers, as well as in-person at 30 regional financial centers in the United States. The company was
   founded in 1982 and is headquartered in Arlington, Virginia.

   Interactive Brokers Group, Inc. (NasdaqGS:IBKR)
   Primary Industry: Investment Banking and Brokerage
   Interactive Brokers Group, Inc. operates as an automated electronic broker worldwide. The company specializes in executing, clearing, and settling trades in stocks, options, futures, foreign exchange instruments, bonds, mutual funds,
   exchange traded funds (ETFs), metals, and cryptocurrencies. It also custodies and services accounts for hedge and mutual funds, ETFs, registered investment advisors, proprietary trading groups, introducing brokers, and individual
   investors. In addition, it offers custody, prime brokerage, securities, and margin lending services. The company serves institutional and individual customers through approximately 150 electronic exchanges and market centers.
   Interactive Brokers Group, Inc. was founded in 1977 and is headquartered in Greenwich, Connecticut.

   Nasdaq, Inc. (NasdaqGS:NDAQ)
   Primary Industry: Financial Exchanges and Data
   Nasdaq, Inc. operates as a technology company that serves capital markets and other industries worldwide. The Market Technology segment includes anti financial crime technology business, which offers Nasdaq Trade Surveillance, a
   SaaS solution for brokers and other market participants to assist them in complying with market rules, regulations, and internal market surveillance policies; Nasdaq Automated Investigator, a cloud-deployed anti-money laundering
   tool; and Verafin, a SaaS technology provider of anti-financial crime management solutions. This segment also handles assets, such as cash equities, equity derivatives, currencies, interest-bearing securities, commodities, energy
   products, and digital currencies. The Investment Intelligence segment sells and distributes historical and real-time market data; develops and licenses Nasdaq-branded indexes and financial products; and provides investment insights
   and workflow solutions. The Corporate Platforms segment operates listing platforms; and offers investor relations intelligence and governance solutions. As of December 31, 2021, it had 4,178 companies listed securities on The Nasdaq
   Stock Market, including 1,632 listings on The Nasdaq Global Select Market; 1,169 on The Nasdaq Global Market; and 1,377 on The Nasdaq Capital Market. The Market Services segment includes equity derivative trading and clearing, cash
   equity trading, fixed income and commodities trading and clearing, and trade management service businesses. This segment operates various exchanges and other marketplace facilities across various asset classes, which include
   derivatives, commodities, cash equity, debt, structured products, and exchange traded products; and provides broker, clearing, settlement, and central depository services. The company was formerly known as The NASDAQ OMX
   Group, Inc. and changed its name to Nasdaq, Inc. in September 2015. Nasdaq, Inc. was founded in 1971 and is headquartered in New York, New York.

   Euronext N.V. (OTCBB:EUXTF)
   Primary Industry: Financial Exchanges and Data
   Euronext N.V., together with its subsidiaries, operates securities and derivatives exchanges in Continental Europe, Ireland, and Norway. The company offers a range of exchange and corporate services, including security listings, cash
   and derivatives trading, and market data dissemination. It also provides listing venues and cash equities trading venues; and various marketplaces, including multilateral trading facilities for investors, broker-dealers, and other market
   participants to meet directly to buy and sell cash equities, fixed income securities, and exchange traded products. In addition, the company offers options contracts based on the blue-chip equities listed on Euronext; commodity
   derivatives, such as milling wheat futures contracts; and post-trade services, as well as distributes and sells real-time, historic, and reference data to data vendors, and financial institutions and individual investors. Further, it provides
   equity, debt, fund and ETF listing, corporate and investor, cash trading, foreign exchange trading, derivatives trading, fixed income trading, and power trading services. Additionally, the company offers technology solutions and
   services to exchanges, venue operators, and financial institutions; connectivity, colocation, and network and proximity services; data analytics, risk management, order management system, broker workstations, algorithmic trading
   validation, and regulatory reporting services; and hosting services to financial firms and third-party venue operators. The company was formerly known as Euronext Group N.V. and changed its name to Euronext N.V. in May 2014.
   Euronext N.V. was founded in 2000 and is headquartered in Amsterdam, the Netherlands.

   Intercontinental Exchange, Inc. (NYSE:ICE)
   Primary Industry: Financial Exchanges and Data
   Intercontinental Exchange, Inc., together with its subsidiaries, operates regulated exchanges, clearing houses, and listings venues for commodity, financial, fixed income, and equity markets in the United States, the United Kingdom,
   the European Union, Singapore, Israel, and Canada. It operates through three segments: Exchanges, Fixed Income and Data Services, and Mortgage Technology. The company operates marketplaces for listing, trading, and clearing an
   array of derivatives contracts and financial securities, such as commodities, interest rates, foreign exchange, and equities, as well as corporate and exchange-traded funds; trading venues, including 13 regulated exchanges and 6
   clearing houses; and offers futures and options products for energy, agricultural and metals, financial, cash equities and equity, over-the-counter, and other markets, as well as listings and data and connectivity services. It also
   provides fixed income data and analytic, fixed income execution, CDS clearing, and other multi-asset class data and network services. In addition, the company offers proprietary and comprehensive mortgage origination platform,
   which serves residential mortgage loans; closing solutions that provides customers connectivity to the mortgage supply chain and facilitates the secure exchange of information; data and analytics services; and Data as a Service for
   lenders to access data and origination information. Intercontinental Exchange, Inc. was founded in 2000 and is headquartered in Atlanta, Georgia.

Footnotes
   This schedule has been prepared on the basis of the information and assumptions set forth in our report and the attached schedules. It must be read in conjunction with the accompanying report and all the other exhibits included herein. Some totals may
   not add due to rounding.
   Source: S&P Capital IQ.



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                                                                Case 23-50437-JTD                            Doc 36-14                 Filed 11/08/23                   Page 15 of 15
FTX Trading Ltd.
ASC 805 Purchase Price Allocation of Digital Assets DA AG                                                                                                                                                                                               Appendix 3
Guideline Public Companies - Descriptions                                                                                                                                                                                                               Page 3 of 3
As of November 14, 2021




   Hong Kong Exchanges and Clearing Limited (OTCBB:HKXCF)
   Primary Industry: Financial Exchanges and Data
   Hong Kong Exchanges and Clearing Limited, together with its subsidiaries, owns and operates stock exchanges and futures exchanges, and related clearing houses in Hong Kong, Mainland China, and the United Kingdom. It operates
   through five segments: Cash, Equity and Financial Derivatives, Commodities, Post Trade, and Technology. The Cash segment covers various equity products traded on the cash market platforms of the Stock Exchange of Hong Kong
   Limited, the Shanghai Stock Exchange, and the Shenzhen Stock Exchange; sale of market data relating to the products; and other related activities. The Equity and Financial Derivatives segment provides and maintains trading platforms
   for a range of equity and financial derivative products, such as stock and equity index futures and options, derivative warrants, and callable bull/bear contracts and warrants, as well as sells related market data. The Commodities
   segment operates an exchange for the trading of base, ferrous, and precious metals futures and options contracts in the United Kingdom; and operates Qianhai Mercantile Exchange Co., Ltd., a commodity trading platform in the
   Mainland. This segment also covers commodities contracts traded on Futures Exchange. The Post Trade segment operates clearing houses that are responsible for clearing, settlement, depository, custodian, and nominee services. The
   Technology segment offers various services that provide users with access to the platform and infrastructure. The company serves issuers and investors. Hong Kong Exchanges and Clearing Limited is based in Central, Hong Kong.




Footnotes
   This schedule has been prepared on the basis of the information and assumptions set forth in our report and the attached schedules. It must be read in conjunction with the accompanying report and all the other exhibits included herein. Some totals may
   not add due to rounding.
   Source: S&P Capital IQ.




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